                      Case: 3:09-cr-00160-lsa Document #: 55 Filed: 05/04/12 Page 1 of 4
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations
         Sheet 1


                               UNITED STATES DISTRICT COURT
                                           WESTERN DISTRICT OF WISCONSIN
          UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                                                                             (For Revocation of Probation or Supervised Release)
                               V.
          BRANDON BELISLE                                                    Case Number: 09-CR-160
                                                                             USM Number: 06961-090

                                                                             Elizabeth Altman
                                                                             Defendant's Attorney

                                                                             Peter Bartelt
                                                                             Assistant United States Attorney
THE DEFENDANT:
:     admitted guilt to violation of standard conditions 6 and 9 of the term of supervision.

9     was found in violation of condition(s)                                           after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation Number                              Nature of Violation                                  Violation Ended


 1                              failure to return to approved residence                 3/15/12

 2                              association with convicted felons                       3/15/12




     The defendant is sentenced as provided in Pages 2 through 4 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.


9     The defendant has not violated condition(s)                                  and is discharged as to such violation(s) condition.

       It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and the United States attorney of any material change in the economic circumstances.

Defendant's Last Four Digits of
Soc. Sec. No.:    2877

Defendant's Year of Birth:      1980                                                            April 27, 2012
                                                                                       Date of Imposition of Judgment
Defendant's Residence City & State:
W ebster, W I                                                                          /s Lynn Adelman

                                                                                       Signature of Judicial Officer

                                                                                       Lynn Adelman, District Judge
                                                                                       Name & Title of Judicial Officer


                                                                                       May 3, 2012
                                                                                       Date
                      Case: 3:09-cr-00160-lsa Document #: 55 Filed: 05/04/12 Page 2 of 4Judgment Page 2 of 4
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations:
        Sheet 2 - Imprisonment

Defendant:                    BRANDON BELISLE
Case Number:                  09-CR-160

                                                            IMPRISONMENT
    The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of 6
months.




9 The court makes the following recommendations to the Bureau of Prisons:



: The defendant is remanded to the custody of the United States Marshal.
9 The defendant shall surrender to the United States Marshal for this district.
  9 at                       9 a.m.       9 p.m. on                          .

  9 as notified by the United States Marshal.

9 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons,
  9 before 2 p.m. on
  9 as notified by the United States Marshal.
  9 as notified by the Probation or Pretrial Services Office.
                                                                    RETURN
     I have executed this judgment as follows:




     Defendant delivered on                                          to
at                                           with a certified copy of this judgment.



                                                                                       UNITED STATES MARSHAL

                                                                                By
                                                                                       DEPUTY UNITED STATES M ARSHAL
                      Case: 3:09-cr-00160-lsa Document #: 55 Filed: 05/04/12 Page 3 of 4Judgment Page 3 of 4
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations:
         Sheet 3 - Supervised Release

Defendant:                     BRANDON BELISLE
Case Number:                   09-CR-160
                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : two years.

      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
      9     The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
            substance abuse. (Check, if applicable.)
      :     The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

      9     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

      9     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or
            is a student, as directed by the probation officer. (Check, if applicable.)
      9 The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
      If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
 1)   the defendant shall not leave the judicial district without permission of the court or probation officer;
 2)   the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
      of each month;
 3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)   the defendant shall support his or her dependents and meet other family responsibilities;
 5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
      acceptable reasons;
 6)   the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
      substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)   the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of
      a felony, unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
      record or personal history or characteristics and shall permit the probation officer to make such notification and to confirm the
      defendant's compliance with such notification requirement.
                 Case: 3:09-cr-00160-lsa Document #: 55 Filed: 05/04/12 Page 4 of 4Judgment Page 4 of 4

                                          ADDITIONAL CONDITIONS
     The defendant shall provide the supervising probation officer with any and all requested financial information,
including copies of state and federal tax returns.

     The defendant shall participate in a mental health referral, assessment, and treatment as approved by the
supervising probation officer and comply with all rules, regulations, and recommendations of the mental health
agency or its representative to the extent approved by the supervising probation officer. Defendant shall take any
medications prescribed by a licensed medical provider. Defendant shall attempt to obtain his own funding for
services.

     The defendant shall submit his person, property, residence, office, or vehicle to a search, conducted by a
probation officer at a reasonable time and in a reasonable manner, whenever the probation officer has reasonable
suspicion of contraband or of a violation of a condition of release; failure to submit to such a search may be a ground
for revocation. The defendant shall advise any other residents that the premises he is occupying may be subject
searches pursuant to this condition.

     The defendant shall abstain from the use of alcohol and illegal drugs and from association with drug users and
sellers, and participate in substance abuse treatment. Defendant shall submit to drug testing beginning within 15
days of release and up to 60 drug tests annually thereafter; the probation office may utilize the Administrative Office
of the U.S. Courts phased collection process.

     The defendant shall spend up to 180 days in a residential reentry center, as approved by the supervising
probation officer, with admission upon first available vacancy. Defendant may be absent from the center for
employment purposes, for mental health counseling and treatment, and for passes consistent with program rules.
Defendant is to pay for his own medical expenses, if any, and is to pay 25% of his gross income toward the cost of
residence.

      The defendant shall not associate with any member or prospective member of any known street gang or
affiliate, including the Latin Kings.
